From: "Javier Torres" <jtorres@mediaeffective.com>
To: <edmendezc@yahoo.com>
Subject: FW: BROOKLYN RENOVATE & FLIP - 1070 Bergen Street $ 1,050,135 Profit Quick Turn
- 21% Annualized on Cash In
Date: Thu, 26 May 2016 16:38:05 +0000
Attachments: 1070_Bergen_Street_21%_Project_Overview.pdf; 1070_Bergen_St__ROI_2_Cash_Deal_21%.xlsx; 1070_Bergen_Street_-Final_Plans_4462_Net_SF_5.16.pdf
Edward:
For your review.
Javier Torres
Director Media Effective
201.746.6592
From: Nicholas Salzano
Sent: Thursday, May 26, 2016 11:57 AM
To: 'Klink, David'




                                                                                                                             Case 23-01335-JKS             Doc 84-11 Filed 07/10/24 Entered 07/10/24 18:12:30     Desc
Cc: Art Scutaro; AJ Scutaro
Subject: BROOKLYN RENOVATE & FLIP - 1070 Bergen Street $ 1,050,135 Profit Quick Turn - 21% Annualized on Cash In
Hi David,
How are you? This is an offering for existing customer INSIDERS ONLY . We have to save the special situation deals
for clients because they are not normal return deals. They are just more rare and we save them as a Thank You
Reward is all.
The pricing we obtained on this SHELL and this BUILD is what drives the high returns. This closes June 10th – so with
your refinances probably done by June 4th or so – you just might be able to squeeze in.
In summary this is :
3 CONDO UNITS BEING BUILT OUT AND SOLD FROM ONE 3 FAMILY BUILDING BEING RENOVATED – In Northern Crown
Heights - HOTTEST CONDO MARKET IN THE USA = BROOKLYN.




                                                                                                                                                               Plaintiffs Ex. 21 Page 1 of 32
There is ZERO SUPPLY of Condos in Northern Crown Heights and many that come on the market are going OVER ASK.
Therefore, we believe we have a nice upside here also.
PLANS are ATTACHED and in the POWER POINT attached. Numbers are also below.
THE MINIMUM GUARANTEED RETURN BY NRIA WILL BE 14% IN THE CONTRACTS WE SEND – EXPECTED RETURN HERE
at OUTSALE of the 3 Condo Units IS 21% + as stated .
NRIA BACKS ALL ASPECTS OF OUR DEALS AS USUAL with:
Fixed Cost of City Construction
Buy Back agreement – to buy any unsold units with our regular investors for rent - if that case were ever to occur
[highly unlikely in this the USAs top market] - providing A GURANTEED minimum 14% return TO INVESTORS
Full Professional Management – from Shell Renovation Up to Out Sale/Condo Resale
No shortfalls of Capital/Capital Calls or NRIA pays in
On time Build Protection
I Will get you the full Private Placement Memo by Friday to make your decision after reading all etc.
Everything is in writing and backed by us as usual.
Numbers again are below and attached. Will send sales comps next . Please feel free to call.
BUILDABLE SQUARE FOOTAGE
COST PER SQ. FOOT
CONSTRUCTION COST
ESTIMATED COST OF
CONSTRUCTION
RESIDENTIAL LIVABLE SQUARE
FOOTAGE
SALES PRICE PER SQUARE FOOT
GROSS OUTSALE PRICE
Variable Factors
5,008.
00
274.0
0
1,372,
192.0
0
4,463.
00
1,075.
00
4,797,
725.0
0
*SHELL
PM FEE
ARCHITECTURAL
/STRUCTURAL/MEP/FIRE SAFETY
ENVIRO TESTING /ABATING
ASBES/GEOTECH/ CONSTRUCT
INSPECTIONS
LEGAL CONDO/ EXPEDITING
CLOSING COSTS
INSURANCE: VACANT BUILDING
AND BUILDERS RISK RENOVATION
POLICY
PROPERTY TAX
CASH IN DEPOSIT (% OF TOTAL
COST)
INTEREST RATE
CONSTRUCTION DURATION
(MONTHS)
DURATION TO OUTSALE FROM
CONSTRUCTION COMPLETION
INVESTMENT UNITS AVAILABLE
1,675,
000.0
0
175,2
00.00
103,5
00.00
64,10
0.00
75,00
0.00
30,00
0.00
25,00
0.00
11,70
0.00
100.0
0%
0.00%
14.00
3.00
20.00
*REALTOR COMMISSION
4.50%
TOTAL ACQUISITION AND
DEVELOPMENT COST
3,531,
692.0
0
3,531,
692.0
0
0.00
0.00
CASH IN DEPOSIT
LOAN REQUIRED
CASH IN FOR INTEREST EXPENSE
(CONSTRUCTION DURATION)
CASH IN FOR INTEREST EXPENSE
(DURATION TO OUTSALE)
TOTAL CASH REQUIREMENTS
0.00
3,531,
692.0
0
TOTAL PROJECT COST BASIS
3,531,
692.0
0
CASH REQUIRED PER INVESTMENT 176,5
UNIT
84.60
NET SALES PROCEEDS (AFTER
REALTY COMMISSION)
TOTAL PROJECT COST BASIS
4,581,
827.3
8
3,531,
692.0
*NET INCOME FROM SALE
NET INCOME DISTRIBUTION PER
INVESTMENT UNIT
INVESTOR RETURN ON CASH IN
INVESTOR ANNUALIZED ROI
0
1,050,
135.3
8
52,50
6.77
29.73
%
20.99
%
Private Placement Documents will be sent by Friday – to read first if there is interest.
Best Regards & Delivering the Highest Realty Investment Results for our Valued Clients, I am
Sincerely,
Nicholas Salzano
Senior Independent Project Management Vice President
Best Regards & Delivering the Highest Realty Investment Results for our Valued Clients, I am
Sincerely,
Nicholas Salzano
Senior Independent Project Management Vice President
National Realty Investment Advisors, LLC
1325 Paterson Plank Road
2nd Floor
Secaucus, New Jersey 07094
T. (201) 210-2727
F. (800) 349-0925
C. (973) 689-5482
P.S. PLEASE NOTE: The contents of this email have been software dictated and not read or edited. Please excuse any
misspellings, typographical errors, or grammatical misstatements due to the software’s limitations.
*E. nicholas@nria.net
Website:
http://nria.net
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agents, attorneys, accountants, referred mortgage brokers, lenders, or consultants (collectively, the "Associates"), is
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material and content contained herein or supplied by NRIA at any time is provided on an "as is" basis without warranty
of any kind, either express or implied, including but not limited to the implied warranties of merchantability, or fitness
for a particular purpose. Moreover, the information is provided for informational purposes only under the terms &
conditions found on the NRIA website, in the NRIA Disclosures and Acknowledgements Agreement you have been
provided and the Project Management Agreement and is not intended to be a substitute for your own due diligence
and independent research each prospective real estate owner should perform as to any real estate purchase, nor is it
claimed to be a complete study of the legal, tax, economic, logistic, geographic, demographic, investment , valuation,
rental or other conditions and characteristics concerning the real estate opportunities presented by NRIA, or any of its
Associates to prospective purchasers of real estate. Please see your Disclosure & Acknowledgements Agreement signed
, and our website for your exact terms and conditions of services at any time. This electronic message and any
attachment(s) hereto is confidential and may contain information protected by the attorney-client work product or
other confidentiality privilege. It is intended for the exclusive use of the recipient named above. If you are not the
intended recipient, please do not disclose, copy or distribute this information. Please notify this firm of your receipt
immediately by return electronic e-mail or by telephone at (201) 210-2727 and destroy the message and its
attachment(s).




                                                                                                                                                                                                                Plaintiff's Ex. 21
Fixed Cost of City Construction
Buy Back agreement — to buy any unsold units with our regular investors for rent - if that case were ever to occur
[highly unlikely in this the USAs top market] - providing AGURANTEED minimum 14% return TO INVESTORS
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| Will get you the full Private Placement Memo by Friday to make your decision after reading all etc.
Everything is in writing and backed by us as usual.
Numbers again are below and attached. Will send sales comps next . Please feel free to call.
BUILDABLE SQUARE FOOTAGE
5,008.
00
COST PER SQ. FOOT
CONSTRUCTION COST




                                                                                                                     Case 23-01335-JKS   Doc 84-11 Filed 07/10/24 Entered 07/10/24 18:12:30   Desc
274.0
0
ESTIMATED COST OF
CONSTRUCTION
1,372,
192.0
0
RESIDENTIAL LIVABLE SQUARE
FOOTAGE
4,463.
00




                                                                                                                                             Plaintiffs Ex. 21 Page 2 of 32
SALES PRICE PER SQUARE FOOT
1,075.
00
GROSS OUTSALE PRICE
4,797,
725.0
0
Variable Factors
TORRES_MEDIAEFFECTIVE000727
*
SHELL 1,675,
000.0
0
PM FEE 175,2
00.00
ARCHITECTURAL 103,5
/STRUCTURAL/MEP/FIRE SAFETY | 00.00
ENVIRO TESTING /ABATING 64,10
ASBES/GEOTECH/ CONSTRUCT 0.00
INSPECTIONS
LEGAL CONDO/ EXPEDITING 75,00
0.00
CLOSING COSTS 30,00
0.00




                                      Case 23-01335-JKS   Doc 84-11 Filed 07/10/24 Entered 07/10/24 18:12:30   Desc
INSURANCE: VACANT BUILDING 25,00
AND BUILDERS RISK RENOVATION 0.00
POLICY
PROPERTY TAX 11,70
0.00
CASH IN DEPOSIT (% OF TOTAL 100.0
COST) 0%
INTEREST RATE 0.00%
CONSTRUCTION DURATION 14.00
(MONTHS)
DURATION TO OUTSALE FROM 3.00




                                                              Plaintiffs Ex. 21 Page 3 of 32
CONSTRUCTION COMPLETION
INVESTMENT UNITS AVAILABLE 20.00
TORRES_MEDIAEFFECTIVE000728
*
REALTOR COMMISSION
4.50%
TOTAL ACQUISITION AND 3,531,
DEVELOPMENT COST 692.0
0
CASH IN DEPOSIT 3,531,
692.0
0
LOAN REQUIRED 0.00
CASH IN FOR INTEREST EXPENSE 0.00
(CONSTRUCTION DURATION)
CASH IN FOR INTEREST EXPENSE 0.00
(DURATION TO OUTSALE)
TOTAL CASH REQUIREMENTS 3,531,




                                     Case 23-01335-JKS   Doc 84-11 Filed 07/10/24 Entered 07/10/24 18:12:30   Desc
692.0
0
TOTAL PROJECT COST BASIS 3,531,
692.0
0
CASH REQUIRED PER INVESTMENT 176,5
UNIT 84.60
NET SALES PROCEEDS (AFTER 4,581,
REALTY COMMISSION) 827.3
8
TOTAL PROJECT COST BASIS 3,531,




                                                             Plaintiffs Ex. 21 Page 4 of 32
692.0
TORRES_MEDIAEFFECTIVE000729
*
NET INCOME FROM SALE 1,050,
135.3
NET INCOME DISTRIBUTION PER 52,50
INVESTMENT UNIT 6.77
INVESTOR RETURN ON CASH IN 29.73
%
INVESTOR ANNUALIZED ROI 20.99
%
Private Placement Documents will be sent by Friday — to read first if there is interest.
Best Regards & Delivering the Highest Realty Investment Results for our Valued Clients, | am
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Nicholas Salzano
Senior Independent Project Management Vice President
Best Regards & Delivering the Highest Realty Investment Results for our Valued Clients, | am




                                                                                                                     Case 23-01335-JKS   Doc 84-11 Filed 07/10/24 Entered 07/10/24 18:12:30   Desc
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                                                                                                                                             Plaintiffs Ex. 21 Page 5 of 32
misspellings, typographical errors, or grammatical misstatements due to the software’s limitations.
TORRES_MEDIAEFFECTIVE000730
*
E. nicholas@nria.net
Website:
http://nria.net
Important Reiteration of your Disclosures Agreement: To use NRIA information and services you agree that no
information provided herein or elsewhere by NRIA, or any of its shareholders, directors, officers, members, employees,
agents, attorneys, accountants, referred mortgage brokers, lenders, or consultants (collectively, the “Associates"), is
intended nor should be construed as securities, economic, tax, investment, legal, or other advice. All information,
material and content contained herein or supplied by NRIA at any time is provided on an “as is" basis without warranty
of any kind, either express or implied, including but not limited to the implied warranties of merchantability, or fitness
for a particular purpose. Moreover, the information is provided for informational purposes only under the terms &
conditions found on the NRIA website, in the NRIA Disclosures and Acknowledgements Agreement you have been
provided and the Project Management Agreement and is not intended to be a substitute for your own due diligence
and independent research each prospective real estate owner should perform as to any real estate purchase, nor is it
claimed to be a complete study of the legal, tax, economic, logistic, geographic, demographic, investment , valuation,




                                                                                                                             Case 23-01335-JKS   Doc 84-11 Filed 07/10/24 Entered 07/10/24 18:12:30   Desc
rental or other conditions and characteristics concerning the real estate opportunities presented by NRIA, or any of its
Associates to prospective purchasers of real estate. Please see your Disclosure & Acknowledgements Agreement signed
, and our website for your exact terms and conditions of services at any time. This electronic message and any
attachment(s) hereto is confidential and may contain information protected by the attorney-client work product or
other confidentiality privilege. It is intended for the exclusive use of the recipient named above. If you are not the
intended recipient, please do not disclose, copy or distribute this information. Please notify this firm of your receipt
immediately by return electronic e-mail or by telephone at (201) 210-2727 and destroy the message and its
attachment(s).
TORRES_MEDIAEFFECTIVE000731
*




                                                                                                                                                     Plaintiffs Ex. 21 Page 6 of 32
20'-11"
20'-0"
44'-8"
CELLAR
UP
PROPERTY LINE
AREA SUMMARY PROPOSED
CELLAR
FIRST FLOOR
SECOND FLOOR
THIRD FLOOR
FOURTH FLOOR
PENTHOUSE
593sf (gross floor area)




                                     Case 23-01335-JKS   Doc 84-11 Filed 07/10/24 Entered 07/10/24 18:12:30   Desc
(300sf addition)
920sf (gross floor area)
1,220sf (gross floor area)
920sf (gross floor area)
920sf (gross floor area)
920sf (gross floor area)
920sf (common area)
1,220sf (net residential area)
730sf (net residential area)
190sf (common area)
860sf (net residential area)




                                                             Plaintiffs Ex. 21 Page 7 of 32
60sf (common area)
920sf (net residential area)
TOTAL GROSS BUILDING AREA:
(INCLUDING CELLAR)
5,493 SF
TOTAL PROPOSED ZONING AREA:
4,573 SF
NET RESIDENTIAL AREA:
4,323 SF
EXISTING LOT AREA:
2,505 SF
PROPOSED FAR:
1.8
Existing Wall
New Wall
593sf (net residential area)
Common Area
SCHEMATIC DESIGN LAYOUT APPROVAL
SK-01 CELLAR
May 4, 2016
SIGNATURE
DATE
1070 BERGEN STREET
BROOKLYN, NY
15'-0" ADDITION
44'-8"
12'-0"
2'-0"
3'-10"
9'-0"
15'-0"
2'-0"
6'-7"
4'-0"
3'-6"
CL.
8'-0"
W/D
BATH
BEDROOM 2
10'-3"
20'-0"
GATE
PLANTER
MASTER SUITE
M. BATH
NEW STAIR
TO CELLAR
DN
14'-4"
7'-3"
6'-0"
14'-7"
13'-10"
20'-11"
AREA SUMMARY PROPOSED
CELLAR
FIRST FLOOR
SECOND FLOOR
THIRD FLOOR
FOURTH FLOOR
PENTHOUSE
593sf (gross floor area)
(300sf addition)
920sf (gross floor area)
1,220sf (gross floor area)
920sf (gross floor area)
920sf (gross floor area)
920sf (gross floor area)
920sf (common area)
1,220sf (net residential area)
730sf (net residential area)
190sf (common area)
860sf (net residential area)
60sf (common area)
920sf (net residential area)
TOTAL GROSS BUILDING AREA:
(INCLUDING CELLAR)
5,493 SF
TOTAL PROPOSED ZONING AREA:
4,573 SF
NET RESIDENTIAL AREA:
4,323 SF
EXISTING LOT AREA:
2,505 SF
PROPOSED FAR:
1.8
Existing Wall
New Wall
593sf (net residential area)
Common Area
SCHEMATIC DESIGN LAYOUT APPROVAL
SK-02 FIRST FLOOR
May 4, 2016
SIGNATURE
DATE
1070 BERGEN STREET
BROOKLYN, NY
*15'-0"
44'-8"
9'-6"
14'-1"
3'-11"
4'-0"
13'-2"
PWDR
12'-1"
ROOF TERRACE
EXISTING
STAIR (SEE
PHOTO)
14'-6"
20'-0"
UP
UP
13'-2"
11'-0"
6'-4"
11'-8"
3'-4"
AREA SUMMARY PROPOSED
CELLAR
FIRST FLOOR
SECOND FLOOR
THIRD FLOOR
FOURTH FLOOR
PENTHOUSE
593sf (gross floor area)
(300sf addition)
920sf (gross floor area)
1,220sf (gross floor area)
920sf (gross floor area)
920sf (gross floor area)
920sf (gross floor area)
920sf (common area)
1,220sf (net residential area)
730sf (net residential area)
190sf (common area)
860sf (net residential area)
60sf (common area)
920sf (net residential area)
TOTAL GROSS BUILDING AREA:
(INCLUDING CELLAR)
5,493 SF
TOTAL PROPOSED ZONING AREA:
4,573 SF
NET RESIDENTIAL AREA:
4,323 SF
EXISTING LOT AREA:
2,505 SF
PROPOSED FAR:
1.8
Existing Wall
New Wall
593sf (net residential area)
Common Area
SCHEMATIC DESIGN LAYOUT APPROVAL
SK-03 SECOND FLOOR
May 4, 2016
SIGNATURE
DATE
1070 BERGEN STREET
BROOKLYN, NY
*10'-1"
EXISTING
STAIR
NEW
STAIR
15'-8"
6'-3"
9'-0"
CLOSE WINDOW
6'-0"
CL.
DN
BATH
M. BATH
2'-2"
5'-0"
UP
BEDROOM 2
10'-8"
9'-2"
20'-0"
W/D
MASTER SUITE
DN
10'-1"
18'-9"
13'-0"
3'-4"
AREA SUMMARY PROPOSED
TOTAL GROSS BUILDING AREA:
(INCLUDING CELLAR)
CELLAR
FIRST FLOOR
SECOND FLOOR
THIRD FLOOR
FOURTH FLOOR
PENTHOUSE
593sf (gross floor area)
(300sf addition)
920sf (gross floor area)
1,220sf (gross floor area)
920sf (gross floor area)
920sf (gross floor area)
920sf (gross floor area)
920sf (common area)
1,220sf (net residential area)
730sf (net residential area)
190sf (common area)
860sf (net residential area)
60sf (common area)
920sf (net residential area)
TOTAL PROPOSED ZONING AREA:
4,573 SF
NET RESIDENTIAL AREA:
4,323 SF
EXISTING LOT AREA:
2,505 SF
PROPOSED FAR:
1.8
Existing Wall
New Wall
593sf (net residential area)
Common Area
SCHEMATIC DESIGN LAYOUT APPROVAL
SK-04 THIRD FLOOR
May 4, 2016
SIGNATURE
DATE
5,493 SF
1070 BERGEN STREET
BROOKLYN, NY
*3'-0"
UP
8'-1"
3'-0"
3'-4"
9'-8"
5'-0"
13'-8"
BATH
CL.
DN
17'-11"
20'-0"
ENLARGE WINDOWS
SLOPING CEILING
LOW POINT AT +7'2" AFF
(SEE PHOTO)
12'-8"
BEDROOM 2
16'-8"
14'-10"
9'-8"
AREA SUMMARY PROPOSED
CELLAR
FIRST FLOOR
SECOND FLOOR
THIRD FLOOR
FOURTH FLOOR
PENTHOUSE
593sf (gross floor area)
(300sf addition)
920sf (gross floor area)
1,220sf (gross floor area)
920sf (gross floor area)
920sf (gross floor area)
920sf (gross floor area)
920sf (common area)
1,220sf (net residential area)
730sf (net residential area)
190sf (common area)
860sf (net residential area)
60sf (common area)
920sf (net residential area)
TOTAL GROSS BUILDING AREA:
(INCLUDING CELLAR)
5,493 SF
TOTAL PROPOSED ZONING AREA:
4,573 SF
NET RESIDENTIAL AREA:
4,323 SF
EXISTING LOT AREA:
2,505 SF
PROPOSED FAR:
1.8
Existing Wall
New Wall
593sf (net residential area)
Common Area
SCHEMATIC DESIGN LAYOUT APPROVAL
SK-05 FOURTH FLOOR
May 4, 2016
SIGNATURE
DATE
1070 BERGEN STREET
BROOKLYN, NY
*POSSIBLE
DIVISION FOR A
THIRD
BEDROOM
14'-4"
15'-0"
3'-0"
13'-7"
DECK TO BE LEVELED
OVER SLOPING ROOF
12'-2"
DN
ROOF TERRACE
MASTER SUITE
15'-3"
20'-0"
W/D
FAMILY
M. BATH
6'-0"
CL.
9'-0"
7'-7"
10'-9"
AREA SUMMARY PROPOSED
CELLAR
FIRST FLOOR
SECOND FLOOR
THIRD FLOOR
FOURTH FLOOR
PENTHOUSE
593sf (gross floor area)
(300sf addition)
920sf (gross floor area)
1,220sf (gross floor area)
920sf (gross floor area)
920sf (gross floor area)
920sf (gross floor area)
920sf (common area)
1,220sf (net residential area)
730sf (net residential area)
190sf (common area)
860sf (net residential area)
60sf (common area)
920sf (net residential area)
TOTAL GROSS BUILDING AREA:
(INCLUDING CELLAR)
5,493 SF
TOTAL PROPOSED ZONING AREA:
4,573 SF
NET RESIDENTIAL AREA:
4,323 SF
EXISTING LOT AREA:
2,505 SF
PROPOSED FAR:
1.8
Existing Wall
New Wall
593sf (net residential area)
Common Area
SCHEMATIC DESIGN LAYOUT APPROVAL
SK-06 PH FLOOR
May 4, 2016
SIGNATURE
DATE
1070 BERGEN STREET
BROOKLYN, NY
*EXISTING STAIR
SLOPING CEILING AND ALCOVES AT THE
UPPER FLOOR
SCHEMATIC DESIGN LAYOUT APPROVAL
SK-07 PHOTOS
May 4, 2016
SIGNATURE
DATE
1070 BERGEN STREET
BROOKLYN, NY
15'-0" ADDITION 44-8"
12-0" 2-0") 8410" g'-0" a. 15'-0" 2-0" 6-7" 40" 3-6"
GL. re
W/D
3 BATH
° (O 7 BEDROOM 2
: , GATE
oO
\ i
: \ /
= \ / PLANTER NEW STAIR
2 MASTER SUITE \ TO CELLAR
~ HU M. BATH x
fr




                                                                                                                                                                         Case 23-01335-JKS   Doc 84-11 Filed 07/10/24 Entered 07/10/24 18:12:30   Desc
| / \ 1
/ \ DN
f \
14-4" 7-3" 6-0" 14-7" 13-10" L 20-11" L
AREA SUMMARY PROPOSED
TOTAL GROSS BUILDING AREA: 5,493 SF
(INCLUDING CELLAR)
TOTAL PROPOSED ZONING AREA: 4,573 SF
NET RESIDENTIAL AREA: 4,323 SF
EXISTING LOT AREA: 2,505 SF
PROPOSED FAR: 1.8




                                                                                                                                                                                                 Plaintiffs Ex. 21 Page 8 of 32
CELLAR FIRST FLOOR SECOND FLOOR THIRD FLOOR FOURTH FLOOR PENTHOUSE 7
(300st addition) L Existing Wall
920sf (gross floor area) 1,220sf (gross floor area) 920sf (gross floor area) 920sf (gross floor area) 920sf (gross floor area) 593sf (gross floor area) [| New Wall
920sf (common area) 1,220sf (net residential area) 730sf (net residential area) 860sf (net residential area) 920sf (net residential area) 593sf (net residential area)
190sf (common area) 60sf (common area) GAZ Common Area
SCHEMATIC DESIGN LAYOUT APPROVAL
SK-02 FIRST FLOOR 1070 BERGEN STREET (eau!
May 4, 2016 SIGNATURE DATE BROOKLYN, NY Sia
TORRES_MEDIAEFFECTIVE000734
*
15'-0" 44-8
43/2" 9'-6" 14-4" 3-44"
EXISTING
8 STAIR (SEE
nN ROOF TERRACE _ PHOTO)
AREA SUMMARY PROPOSED
TOTAL GROSS BUILDING AREA: 5,493 SF
(INCLUDING CELLAR)
TOTAL PROPOSED ZONING AREA: 4,573 SF
NET RESIDENTIAL AREA: 4,323 SF
EXISTING LOT AREA: 2,505 SF
PROPOSED FAR: 18
CELLAR FIRST FLOOR SECOND FLOOR THIRD FLOOR FOURTH FLOOR PENTHOUSE
(300sf addition) Lt] Existing Wall




                                                                                                                                                                         Case 23-01335-JKS   Doc 84-11 Filed 07/10/24 Entered 07/10/24 18:12:30   Desc
920sf (gross floor area) 1,220sf (gross floor area) 920sf (gross floor area) 920sf (gross floor area) 920sf (gross floor area) 598sf (gross floor area) [Cl New Wall
920sf (common area) 1,220sf (net residential area) 730sf (net residential area) 860sf (net residential area) 920sf (net residential area) 593sf (net residential area)
190sf (common area) 60sf (common area) WUA Common Area
SCHEMATIC DESIGN LAYOUT APPROVAL
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SK-03 SECOND FLOOR SIGNATURE DATE fore BE CEN Any —
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                                                                                                                                                                                                 Plaintiffs Ex. 21 Page 9 of 32
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3 DN CL. 3 |
BATH r M. BATH ©
CLOSE WINDOW = |
n ee
} W/D |
i |
x
y BEDROOM 2 C MASTER SUITE 3 |
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|




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DN |
10-1" 18-9" 13'-0" 3-4"
AREA SUMMARY PROPOSED
TOTAL GROSS BUILDING AREA: 5,493 SF
(INCLUDING CELLAR)
TOTAL PROPOSED ZONING AREA: 4,573 SF
NET RESIDENTIAL AREA: 4,323 SF
EXISTING LOT AREA: 2,505 SF
PROPOSED FAR: 1.8
CELLAR FIRST FLOOR SECOND FLOOR THIRD FLOOR FOURTH FLOOR PENTHOUSE 7
(300sf addition) L Existing Wall




                                                                                                                                                                                                 Plaintiffs Ex. 21 Page 10 of 32
920sf (gross floor area) 1,220sf (gross floor area) 920sf (gross floor area) 920sf (gross floor area) 920sf (gross floor area) 593sf (gross floor area) [| New Wall
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190sf (common area) 60sf (common area) GZ Common Area
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SK-04 THIRD FLOOR 1070 BERGEN STREET (eau!
May 4, 2016 SIGNATURE DATE BROOKLYN, NY Sia
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ENLARGE WINDOWS
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SLOPING CEILING |
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8 LOW POINT AT +7'2" AFF
N (SEE PHOTO)
BEDROOM 2
AREA SUMMARY PROPOSED
TOTAL GROSS BUILDING AREA: 5,493 SF
(INCLUDING CELLAR)
TOTAL PROPOSED ZONING AREA: 4,573 SF




                                                                                                                                                                         Case 23-01335-JKS   Doc 84-11 Filed 07/10/24 Entered 07/10/24 18:12:30   Desc
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SK-05 FOURTH FLOOR SIGNATURE DATE tor eRe TOOK Ay a




                                                                                                                                                                                                 Plaintiffs Ex. 21 Page 11 of 32
TORRES_MEDIAEFFECTIVE000737
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POSSIBLE
DIVISION FORA
THIRD
BEDROOM
DECK TO BE LEVELED
OVER SLOPING ROOF
ROOF TERRACE
12'-2"
MASTER SUITE
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190sf (common area) 60sf (common area) GAZ Common Area
SCHEMATIC DESIGN LAYOUT APPROVAL
SK-06 PH FLOOR 1070 BERGEN STREET (eau!
May 4, 2016 SIGNATURE DATE BROOKLYN, NY Sia
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EXISTING STAIR SLOPING CEILING AND ALCOVES AT THE
UPPER FLOOR
SCHEMATIC DESIGN LAYOUT APPROVAL
SK-07 PHOTOS 1070 BERGEN STREET Maus!
May 4, 2016 SIGNATURE DATE BROOKLYN, NY
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Return | Reward - Axis
Short Duration | High Yield Investment Opportunity
17-Month Term | 21.0% Annualized ROI
Duration | Risk - Axis
1
Disclaimer
This investment summary is provided for informational purposes only and does not
constitute an offer or solicitation to acquire interests in the investment or any
related or associated company. Any such offer or solicitation may be made only by
means of the confidential Private Placement Memorandum (“Memorandum”) and
in accordance with the terms of all applicable securities and other laws. All
information contained herein is subject to and qualified by the contents of the
Memorandum. As more fully described therein, participation in any securities
offering is limited to Accredited Investors. Please contact NRIA II, LLC, a subsidiary of




                                                                                                                                                                                                                                                                                   Case 23-01335-JKS                                  Doc 84-11 Filed 07/10/24 Entered 07/10/24 18:12:30   Desc
National Realty Investment Advisors, LLC (“Sponsor” or “NRIA”), to inquire about
obtaining a copy of the Memorandum.
The information and any statistical data contained herein have been obtained from
sources which we believe to be reliable, but we do not represent that they are
accurate or complete, and they should not be relied upon as such. All opinions
expressed and data provided herein are subject to change without notice. NRIA
and/or its members, directors, officers, consultants and/or employees, may have
agreements involving equity or other financial interests in the subject property, or
deal as principals in the investment discussed herein.
This potential investment opportunity may not be suitable for all types of investors.
All investments involve different degrees of risk. You should be aware of your risk




                                                                                                                                                                                                                                                                                                                                          Plaintiffs Ex. 21 Page 14 of 32
tolerance level and financial situations at all times. Furthermore, you should read all
transaction documents and statements. Read any and all information presented
carefully before making any investment decisions. You are free at all times to accept
or reject all investment recommendations made by NRIA. Past performance is no
guarantee of future results, and current performance may be lower or higher than
the performance data quoted.
2
The information contained herein should not be used in any actual transaction
without the advice and guidance of legal counsel and a professional tax advisor who
is familiar with all the relevant facts. The information contained here is general in
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projections, targets and schedules on the basis of currently available information
and are intended only as illustrations of potential future performance, and all have
been prepared internally. Nothing herein was prepared by an independent thirdparty. Forward-looking statements, by their very nature, are subject to uncertainties
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Investment
Overview
Financial
Information
Investment
Strengths
1070 Bergen
Street
Location | Plans
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Sponsorship
Market
Information
*Investment Opportunity
NRIA (“Sponsor”) is presenting accredited
investors the opportunity to participate in
the short-term acquisition, complete
renovation, modernization, and conversion
of a three-family townhome into a threeunit high-end condominium development,
located in Crown Heights, Brooklyn.
Investors have the opportunity to
invest and receive a 21.0% annualized
ROI, in an equity position.
The asset is located approximately 5-miles
Southeast of Manhattan, surrounded by
four separate bus routes, and a short walk
to the A/C, 2/3, and 4/5 subway lines,
allowing for an easy commute throughout
NYC.
Upon acquisition of the building, NRIA
plans to perform complete interior and
exterior renovations, including a rear
and roof-top addition to the property.
Architectural illustrations are shown
later in this investment overview.
4
Investors will receive 100% of principal
and their targeted upside upon sale of
the condo units.
NRIA is a private investment,
management, and development
firm with extensive experience in
ground-up construction and
complete renovation of planned
unit developments and
townhomes in the Northeast,
specifically the Philadelphia area
and now expanding rapidly into
areas of NYC, with over 700
construction starts executed since
2010.
NRIA: (i) Targets core urban
areas in the midst of
gentrification, where we
believe assets are located
directly in the path of longterm rent, unit sales, and
property value growth, (ii)
Acquires what we feel is
significantly underutilized real
estate, where we can create
value in the community and for
our investors, (iii) Maintains a
highly-controlled, audited,
development process, and
leverages extensive capital
markets expertise to prudently
execute on a growing
opportunity set, ultimately
offering investors a scalable
and repeatable investment
profile.
*Financial Information
Sources and Uses
Sources
Member Equity
$3,531,692
Uses
Purchase Price
Hard Costs1
Soft Costs2
NYC Closing Costs (Funded through Equity)3
Total Uses of Funds
$1,675,000
$1,547,392
$242,600
$66,700
$3,531,692
1. Hard Costs equate to $309psf.
2. Soft Costs Include: Appraisal, Environmental, Asbestos Removal, Engineering Reports,
Legal Condo Conversion (Structure & Closing), Architectural Plans, Fire Safety, etc.
3. Mansion taxes, Insurance, Property taxes, and certain other closing costs.
Exit Assumptions
Target Project Duration
Target Sale Price PSF (See Sales Comparables)
Gross Outsale Price
RE Sales Commission (%)
Net Sales Proceeds
Member, Principal Retired
Net Profit from Condo Sell-out
Sample, Member Return
One Unit Investment Amount
Annualized ROI
+ Additional credit
enhancements via
NRIA Buy-Back
Agreement &
Project Mgmt.
Guarantees
(see Deal Strengths)
17 months
$1075psf
$4,797,725
4.50%
$4,581,827
-$3,531,692
$1,050,135
$176,585 (20 Investor Units Available)
21.0%
Market Sales
Comps: $932psf $1,273psf, avg.
unit size _1,330sf.
1070 Bergen avg.
unit size is
_1,440sf
Full financial model available upon request.
5
*Investment Strengths
Strong Seasoned Sponsorship: NRIA has a 10-year track record across development, construction management, private equity, capital markets, asset management, and operational
expertise. The firm has executed hundreds of construction starts within core urban markets since 2010, and consistently partners with many of the same regional team members to provide
a highly-audited, efficient development process within the Philadelphia and NYC markets. Notable milestones: 700+ construction starts since 2010, and a total of _290 units sold / _$275M
in value since 2014 alone.
Unique Risk / Reward Investment Profile: Defined as a short duration (17-month), high-yield investment - offering a 21.0% annualized ROI. NRIA believes this structure compensates
investors during the short-term development timeline with an additional illiquidity premium generally reserved for longer-term investment profiles.
Equity Cushion upon Exit, and additional Sponsor Credit Enhancement: NRIA anticipates total net sales proceeds of $4.58 million, implying an as-completed PSF price of $1,075, compared
to the “breakeven” PSF price of $967 (inclusive of a 2.0% sales cost), which would also leave investors with a 14.0% annualized ROI and 100% of their principal. This equity cushion insures
against a certain margin of error, additionally, the Sponsor has made other significant credit enhancements available to the investor through: (i) The NRIA buy-out agreement, whereby NRIA
will acquire and pay investors for any unsold finished unit(s) at the end of the investment term in an amount guaranteed to return all investor capital and a 14.0% annualized ROI, and (ii) The
NRIA fixed contractor cost agreement, which covers all cost overruns during the duration of the project and eliminates the need for additional investor capital calls. Ultimately, these
structural features further illustrate NRIA’s ability to execute, and speak to how high we rank capital preservation.
The Investment is located in a Prime, Urban, Growing area of Brooklyn, located just 5-miles from Manhattan, and centrally located within walking distance to public transportation (subway:
A/C, 2/3, 4/5, bus routes: B65, B44, B43, B25). Population & job growth, shortage of new supply, home-ownership likely reverting back to its historical mean, and interest rates remaining low
for the foreseeable future, are all factors that bode well for this investment. Additionally, the short-duration nature mitigates any unforeseen turn in the residential real estate cycle, and/or
an interest rate sell-off.
Cost Efficiency: NRIA’s proprietary construction bidding process, volume of purchasing, and history with a core-team of development partners (contractors, architects, engineers, building
suppliers, etc.), have effectively created certain economies of scale as it relates to overall project costs. Construction costs for 1070 Bergen Street are estimated at $309psf with an appraised
quality standard of “Q1” (exceptional, high-end custom build), which is far less than quotes given by “retail” contractors in the _$600psf range. These cost savings are directly passed through
to investors and embedded in the short-duration / high-yield return profile.
6
*Bergen Street: Location, Current Floor Plans
Transportation
Subway
Bus
A, C
B44
2, 3
B65
4, 5
B43
B25
Schools
School district number 17
Students located in this area attend:
Public School 138
East-West School Of Int. Studies
Metropolitan Corporate Academy
Medgar Evers College Prep School
Thurgood Marshall Academy
Brooklyn Law School
Neighborhood: The northern section of Crown Heights continues to see a surge in commercial and residential development with restaurants, cafes, bars, grocers (example:
Union Market, 0.4 miles), fitness clubs (example: Soul Cycle, 1-mile), and shops continue to open and prosper. The subject property is located just 5-miles SE of Manhattan, 3miles from Downtown Brooklyn, 1.5-miles from Barclay’s Center, and within walking distance to transportation and area schools (charted, above right).
7
*Bergen Street, Floor Plan(s) Upon Completion
Proposed Unit Breakdown
Unit 1 First Floor (2bed / 2bath)
Gross Square Feet
Net Sellable Square Feet
Unit 2 Second and Third Floor Duplex (2 / 2)
Gross Square Feet
Net Sellable Square Feet
Unit 3 Fourth Floor and Penthouse Duplex (2 / 2)
Gross Square Feet
Net Sellable Square Feet
Proposed Total Net Sellable Square Footage
Cellar, Storage (33% sellable)
8
1,220sf
1,220sf
1,840sf
1,590sf
1,513sf
1,513sf
4,463sf
420sf
*Bergen Street, Unit 1 Upon Completion
C, ACOTTICAI
BEDROOM 2
44
ER SUITE
f'
f
',1 BATH
f4
9
PLANTEi.9
==NCVY -f;=.W11
Tn CELLAF:
*Bergen Street, Unit 2 Upon Completion
gala
10
12,10`
3--4*
*Bergen Street, Unit 3 Upon Completion
it-8'
1
BATH
NG
EW-ARGE WINDOWS
—
I
BEDROOM 2
0
DINING
KITCHEN
it-8'
CEO( T0 E LE,S-ED
cr.,« si_oPmcit
11
SLOPPING cams
LOW POINT AT +72' AFF
(BEE PHOTO)
*Sponsor Track Record
700+
Construction starts since 2010
$
275
Million. Completed value of
units developed since 2014
NRIA has consistently provided superior investment performance
over the last 10-years. With _290 units sold since 2014, it is clear
our network of accredited investors will help facilitate future
growth in areas of opportunity…
160
140
500,000,000
120
400,000,000
100
300,000,000
80
*5 Projects currently in Brooklyn, inclusive of the Subject:
Lincoln Pl., Degraw St., Baltic St., Warren St
60
200,000,000
40
100,000,000
20
0
2010
2011
2012
Unit Starts (LHS)
12
2013
2014
2015
Apr-16
Cumulative Completed Value (RHS)
Focus in 2015: market expansion & luxury units
*Sponsor Track Record, Example Projects by year
13
2012
2014
YTD 2016
Manayunk Hills
Darien Way
Crease Court
Townhomes at 412 Luxe
The Courtyard at North
Fifth
Bridgeview at the Waterfront
Lofts at Front Franklin Village
Premier Estates on North Third
The Marian
The Homes at Penn's Row
SoNo26
Bedford Estates
184 Lincoln Place
377 Degraw Street
640 Baltic Street
647 Warren Street
668 Warren Street
1070 Bergen Street
2013
2015
Townhomes at the Rye
Pressman Commons
The Twenty
The Stables
Riverview at Front Mildred Court
Fireman's Place
Adagio
Ortlieb's Square
The Quarters at Fairmount
*Hundreds of Units + many SFR developments
*Pressman Commons
Market Square
The Marian
Adagio
Ortlieb's Square
The Quarters at Fairmount
Bedford Estates
Courtyard at North Fifth
Mildred Court
412 Luxe
Bridgeview at the Waterfront
Manayunk Hills
Queen’s Walk
Sample set of recent NRIA developments. Similar investments will be shown in the NYC area soon. A complete list of NRIA developments is available upon request.
*Team | Trusted Development Partners (Examples)
Builder / Contractor
Architecture & Design
Structural Engineer, MEP/Fire Safety,
Zoning, Asbestos
Attorney, Real Estate Sales
Building Suppliers, Inspectors
Lenders, Insurance
15
*The Market: Crown Heights Demographic & Condo Market
Location / Address
The Crown Heights residential sales market continues
to thrive, similar to what the market witnessed within
the Brooklyn Heights, Dumbo, and to a later extent,
Park Slope a few years ago. Given the lack of land, airrights, and close proximity to Manhattan, the area
continues to undergo a dramatic shift in its
demographic profile with young working professionals
moving into this area in search of something different
than Manhattan / Brooklyn Heights / Dumbo high-end
condominium towers and their significantly smaller
square footage. Recent sales comparables (charted,
right), all from the “smaller-building” segment.
Below are a few relevant stats illustrating the change in
the demographic profile within the Northern section of
Crown Heights.
Indicator1
$100,001 - $250,000 Income category
$40,001 - $100,000 Income category
Homeownership rate
Population aged 25+ with a bachelors degree or higher
Crime rate (per 1,000 residents)
16
Section
w/in 1/4-mile
810 Bergen St. #2
Crown Heights
655 Washington Ave. #2A Crown Heights
458 Lincoln Pl #4A
Crown Heights
951 Pacific St. #2
Crown Heights
951 Pacific St. #3
Crown Heights
828 Dean St. #2
Crown Heights
828 Dean St. #3
Crown Heights
830 Dean St. # 2
Crown Heights
830 Dean St. #3
Crown Heights
686 Saint Johns Place #4 Crown Heights
686 Saint Johns Place #2 Crown Heights
686 Saint Johns Place #3 Crown Heights
355 Saint Marks Ave. #3 Crown Heights
255 Eastern Parkway #D16 Crown Heights
727 Prospect Place #4A
Crown Heights
916 Pacific Street #301
Crown Heights
255 Eastern Parkway #F1 Crown Heights
810 Bergen St. #4
Crown Heights
2000
14.1%
36.9%
16.0%
18.3%
26.3
2014
16.4%
34.0%
18.9%
36.7%
17.2
2015
NAV
NAV
NAV
NAV
15.5
Status
Date
Sold
Sold
Sold
Sold
Sold
Sold
Sold
Sold
Sold
Contract
Sold
Contract
Sold
Listing
Listing
Contract
Sold
Sold
Q3-Q4 2015
Q3-Q4 2015
Q3-Q4 2015
Q3-Q4 2015
Q3-Q4 2015
Q3-Q4 2015
Q3-Q4 2015
Q3-Q4 2015
Q3-Q4 2015
Q2 2016
Q1 2016
Q2 2016
Q1 2016
Q1 2016
Q1 2016
Q2 2016
Q2 2016
Q1 2016
Building
Bed / Bath SF
Description
4-unit
2/2
1,113sf
10-unit
2/1
832sf
8-unit
3/1
972sf
3-unit
3/2
1,492sf
3-unit
3/2
1,567sf
3-unit
2/2
1,216sf
3-unit
3/3
1,546sf
3-unit
2/2
1,216sf
3-unit
3/3
1,552sf
4-unit
2 / 2.5
1,453sf
4-unit
2 / 2.5
1,453sf
4-unit
2 / 2.5
1,501sf
3-unit
3 / 2.5
1,655sf
3/2
1,438sf
2/2
1,256sf
3/2
1,228sf
3/2
1,396sf
4-unit
2/2
1,113sf
Price
Price PSF
$1,168,000
$1,059,000
$999,999
$1,538,915
$1,567,000
$1,221,900
$1,580,000
$1,221,900
$1,580,000
$1,375,000
$1,375,000
$1,399,000
$1,688,100
$1,500,000
$1,350,000
$1,299,000
$1,450,000
$1,168,000
$1049psf
$1273psf
$1029psf
$1031psf
$1000psf
$1005psf
$1022psf
$1005psf
$1018psf
$946psf
$946psf
$932psf
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$1043psf
$1075psf
$1058psf
$1039psf
$1049psf
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Non




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townhomes in the Northeast,
specifically the Philadelphia area
and now expanding rapidly into
areas of NYC, with over 700
construction starts executed since
2010.
NRIA: (i) Targets core urban
areas in the midst of
gentrification, where we
believe assets are located
directly in the path of long-
term rent, unit sales, and
property value growth, (ii)
Acquires what we feel is
Trailers mla ean P4oce Meer)
estate, where we can create
value in the community and for
our investors, (iii) Maintains a
highly-controlled, audited,
development process, and
leverages extensive capital
markets expertise to prudently
execute on a growing
opportunity set, ultimately
offering investors a scalable
and repeatable investment
profile.
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Financial Information
po
Exit Assumptions
Target Project Duration 17 months
Sources and Uses Target Sale Price PSF (See Sales Comparables) $1075psf
Sates Gross Outsale Price $4,797,725
Member Equity $3,531,692 RE Sales Commission (%) 4.50%
Net Sales Proceeds $4,581,827
— = 675000 Member, Principal Retired -§3,531,692
Hard eg een 902 Net Profit from Condo Sell-out $1,050,135
Soft Costs? $242,600
NYC Closing Costs (Funded through Equity)? $66,700
Total Uses of Funds $3,531,692 Sample, Member Return
1. Hard Costs equate to $309psf. One Unit Investment Amount $176,585 (20 Investor Units Available)




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2. Soft Costs Include: Appraisal, Environmental, Asbestos Removal, Engineering Reports, Annualized ROI 21.0%
Legal Condo Conversion (Structure & Closing), Architectural Plans, Fire Safety, etc.
3. Mansion taxes, Insurance, Property taxes, and certain other closing costs.
Market Sales
Comps: $932psf -
$1,273psf, avg.
unit size =1,330sf.
1070 Bergen avg.
unit size is
=1,440sf
+ Additional credit




                                                                                                                                       Plaintiffs Ex. 21 Page 18 of 32
enhancements via
NRIA Buy-Back
Agreement &
Project Mgmt.
Guarantees
(see Deal Strengths)
Full financial model available upon request.
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Investment Strengths
Strong Seasoned Sponsorship: NRIA has a 10-year track record across development, construction management, private equity, capital markets, asset management, and operational
expertise. The firm has executed hundreds of construction starts within core urban markets since 2010, and consistently partners with many of the same regional team members to provide
a highly-audited, efficient development process within the Philadelphia and NYC markets. Notable milestones: 700+ construction starts since 2010, and a total of =290 units sold / =$275M
in value since 2014 alone.
Unique Risk / Reward Investment Profile: Defined as a short duration (17-month), high-yield investment - offering a 21.0% annualized ROI. NRIA believes this structure compensates
investors during the short-term development timeline with an additional illiquidity premium generally reserved for longer-term investment profiles.
Equity Cushion upon Exit, and additional Sponsor Credit Enhancement: NRIA anticipates total net sales proceeds of $4.58 million, implying an as-completed PSF price of $1,075, compared
to the “breakeven” PSF price of $967 (inclusive of a 2.0% sales cost), which would also leave investors with a 14.0% annualized ROI! and 100% of their principal. This equity cushion insures
against a certain margin of error, additionally, the Sponsor has made other significant credit enhancements available to the investor through: (i) The NRIA buy-out agreement, whereby NRIA
will acquire and pay investors for any unsold finished unit(s) at the end of the investment term in an amount guaranteed to return all investor capital and a 14.0% annualized ROI, and (ii) The
NRIA fixed contractor cost agreement, which covers all cost overruns during the duration of the project and eliminates the need for additional investor capital calls. Ultimately, these
structural features further illustrate NRIA’s ability to execute, and speak to how high we rank capital preservation.
The Investment is located in a Prime, Urban, Growing area of Brooklyn, located just 5-miles from Manhattan, and centrally located within walking distance to public transportation (subway:




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A/C, 2/3, 4/5, bus routes: B65, B44, B43, B25). Population & job growth, shortage of new supply, home-ownership likely reverting back to its historical mean, and interest rates remaining low
for the foreseeable future, are all factors that bode well for this investment. Additionally, the short-duration nature mitigates any unforeseen turn in the residential real estate cycle, and/or
an interest rate sell-off.
Cost Efficiency: NRIA’s proprietary construction bidding process, volume of purchasing, and history with a core-team of development partners (contractors, architects, engineers, building
suppliers, etc.), have effectively created certain economies of scale as it relates to overall project costs. Construction costs for 1070 Bergen Street are estimated at $309psf with an appraised
quality standard of “Q1” (exceptional, high-end custom build), which is far less than quotes given by “retail” contractors in the =S600psf range. These cost savings are directly passed through
to investors and embedded in the short-duration / high-yield return profile.
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Bergen Street: Location, Current Floor Plans
BACK
PARLOR
188" x 13'S"
KITCHEN
14°x13'1"
FOYER
125°x 97"
CELLAR
2 x455
116°x7'3"
ALLNAY
ene
DINING




                                                                                                                                                                                  Case 23-01335-JKS   Doc 84-11 Filed 07/10/24 Entered 07/10/24 18:12:30   Desc
FP ROOM
197 x2210 BEDROOM
169°x 19" BEDROOM
189°x 195"
THIRD FLOOR FOURTH FLOOR
CELLAR
i)
GARDEN FLOOR PARLOR FLOOR
BACK YI
mer
RESIDENCE




                                                                                                                                                                                                          Plaintiffs Ex. 21 Page 20 of 32
Transportation
Subway Bus
A, Cc B44
2,3 B65
4,5 B43
B25
Schools
School district number 17
Students located in this area attend:
Public School 138
East-West School Of Int. Studies
Metropolitan Corporate Academy
Medgar Evers College Prep School
Thurgood Marshall Academy
Brooklyn Law School
Neighborhood: The northern section of Crown Heights continues to see a surge in commercial and residential development with restaurants, cafes, bars, grocers (example:
Union Market, 0.4 miles), fitness clubs (example: Soul Cycle, 1-mile), and shops continue to open and prosper. The subject property is located just 5-miles SE of Manhattan, 3-
miles from Downtown Brooklyn, 1.5-miles from Barclay’s Center, and within walking distance to transportation and area schools (charted, above right).
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Bergen Street, Floor Plan(s) Upon Completion
Proposed Unit Breakdown
Unit 1 First Floor (2bed / 2bath)
Gross Square Feet 1,220sf
Net Sellable Square Feet 1,220sf
Unit 2 Second and Third Floor Duplex (2 / 2)
Gross Square Feet 1,840sf
Net Sellable Square Feet 1,590sf
Unit 3 Fourth Floor and Penthouse Duplex (2 / 2)
Gross Square Feet 1,513sf
Net Sellable Square Feet 1,513sf
Proposed Total Net Sellable Square Footage 4,463sf
Cellar, Storage (33% sellable) 420sf
STORAGE (UNIT 1) STORAGE (UNIT 2)




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STORAGE (UNIT 3)
PROPERTY LINE,
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Bergen Street, Unit 1 Upon Completion
+P
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BEDROOM 2
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2ocr |
MASTER SUITE
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_| DINING
KITCHEN
LIVING
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Bergen Street, Unit 2 Upon Completion
1540 44g
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| 132" oe" 144" aut" |
Po
KITCHEN
TERRACE
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(DINING D
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BATH = M. BATH &
CLOSE WANDOW —t— | Vv ( SS —
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BEDROOM A ™
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Bergen Street, Unit 3 Upon Completion
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ENLARGE WINDOWS |
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Sponsor Track Record
700.
Construction starts since 2010
62/5
Million. Completed value of
units developed since 2014
NRIA has consistently provided superior investment performance
over the last 10-years. With =290 units sold since 2014, it is clear
our network of accredited investors will help facilitate future
growth in areas of opportunity...
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ie 400,000,000
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5 Projects currently in Brooklyn, inclusive of the Subject: a La
Lincoln Pl., Degraw St., Baltic St., Warren St am J | 100,000,000
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2010 2011 yeh) POE} Pe 2015 Apr-16
[Unit Starts (LHS) == Cumulative Completed Value (RHS)
oe @ oS Focus in 2015: market expansion & luxury units
NRIA yy)




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Sponsor Track Record, Example Projects by year
yA tn 2014 YTD 2016
Manayunk Hills Bridgeview at the Waterfront SoNo26
DT aT TaN Lofts at Front Franklin Village Bedford Estates
Orso ae Premier Estates on North Third 184 Lincoln Place
Townhomes at 412 Luxe The Marian 377 Degraw Street
The Courtyard at North The Homes at Penn's Row 640 Baltic Street
miiaa oy WAM laa clas) a actcis
mK ih 668 Warren Street
1070 Bergen Street
Townhomes at the Rye Fireman's Place
Pressman Commons Adagio
a arom A018 Ortlieb's Square
The Stables The Quarters at Fairmount




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Riverview at Front Mildred Court
oe © oS *Hundreds of Units + many SFR developments . \
NTS
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Market Square as
Pressman Commons ae
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Sample set of recent NRIA developments. Similar investments will be shown in the NYC area soon. A complete list of NRIA developments is available upon request.




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Bb
Courtyard at North Fifth
Bridgeview at the Waterfront
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Team | Trusted Development Partners (examples
Builder / Contractor
Architecture & Design
Structural Engineer, MEP/Fire Safety,
Zoning, Asbestos
Attorney, Real Estate Sales
)
Building Suppliers, Inspectors
Lenders, Insurance
LU.S.constTARuctTION
Nias
44 FERGUSON
BAKER DESIGN+BUILD
ENVIROCHECK mi




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architecture and design pllic
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| f PILLARTOPOsT
HOME INSPECTORS
COMPASS
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The Market: Crown Heights Demographic & Condo Market
continues to
Crown Heights.
Location / Address Section Status Date Building Bed / Bath SF Price Price PSF
w/in 1/4-mile Description
The Crown Heights residential sales market continues —_ 810 Bergen St. #2 Crown Heights Sold Q3-Q4 2015 4-unit 2/2 1,113sf $1,168,000 $1049psf
to thrive, similar to what the market witnessed within 655 Washington Ave. #2A Crown Heights Sold Q3-Q4 2015 10-unit 2/1 832sf $1,059,000 $1273psf
the Brooklyn Heights, Dumbo, and to a later extent, 458 Lincoln Pl #4A Crown Heights Sold Q3-04 2015 8-unit 3/1 972sf $999,999 $1029psf
Park Slope a few years ago. Given the lack of land, air- 951 Pacific St. #2 Crown Heights Sold Q3-Q4 2015 3-unit 3/2 1,492sf $1,538,915 $1031psf
; So ’ 951 Pacific St. #3 Crown Heights Sold Q3-Q4 2015 3-unit 3/2 1,567sf $1,567,000 $1000psf
rights, and close proximity to Manhattan, the area — g98 pean st. #2 Crown Heights Sold Q3-Q4 2015 3-unit 2/2 1,216sf $1,221,900 $1005psf
undergo a dramatic shift in its 328 Deanst. #3 Crown Heights Sold Q3-Q4 2015 3-unit 3/3 1,546sf $1,580,000 $1022psf
demographic profile with young working professionals 830 Dean St. #2 Crown Heights Sold Q3-04 2015 3-unit 2/2 1,216sf $1,221,900 $1005psf
than Manhattan / Brooklyn Heights / Dumbo high-end 686 Saint Johns Place #4 Crown Heights Contract Q2 2016 4-unit 2/2.5 1,453sf $1,375,000 $946psf




                                                                                                                                                     Case 23-01335-JKS   Doc 84-11 Filed 07/10/24 Entered 07/10/24 18:12:30   Desc
. : ae 686 Saint Johns Place #2. Crown Heights Sold Q1 2016 4-unit 2/2.5 1,453sf $1,375,000 $946psf
condominium towers and their significantly smaller ¢e¢ caint Johns Place #3 CrownHeights Contract Q22016 4-unit 2/25 1,501sf $1,399,000 $932psf
square footage. Recent sales comparables (charted, 355 saint Marks Ave. #3 CrownHeights Sold Q12016 ~—-3-unit 3/25 1,655sf $1,688,100 $1020psf
right), all from the “smaller-building” segment. 255 Eastern Parkway #D16 Crown Heights Listing Q1 2016 - 3/2 1,438sf $1,500,000 $1043psf
727 Prospect Place #4A =Crown Heights _Listing Qi 2016 - 2/2 1,256sf $1,350,000 $1075psf
. . . 916 Pacific Street #301 Crown Heights Contract Q2 2016 - 3/2 1,228sf $1,299,000 $1058psf
Below are a few relevant stats illustrating the change in 3c5 Eastern Parkway #F1 Crown Heights Sold Q22016—- 3/2 1,396sf $1,450,000 $1039psf
the demographic profile within the Northern section of 310 Bergen St. #4 Crown Heights Sold Q12016 — 4-unit 2/2 1,113sf $1,168,000 $1049psf
Min 832sf $999,999 $932psf
Indicator? 2000 2014 2015 Simple Average 1,333sf $1,363,379 $1030psf
$100,001 - $250,000 Income category 14.1% 16.4% ‘S NAV Max L,655sf__1,688,100 __51273psf




                                                                                                                                                                             Plaintiffs Ex. 21 Page 29 of 32
; 36.9% 34.0% J NAV 1070 Bergen Street 1,441sf avg.
$40,001 - $100,000 Income category 1070 Bergen Street, Brooklyn Estimated Sell-Out $1075psf
Homeownership rate 16.0% 18.9% /S NAV NRIA Buy-out PSF Figure $967psf
Population aged 25+ with a bachelors degree or higher 18.3% 36.7% » NAV
Crime rate (per 1,000 residents) 26.3 17.2 / 15.5
1. Source: NYU Furman Center, State of NYC Housing 2014/15.
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Ss Subway Access
1070 Bergen St
Nostrand Ave.6 Minute walk, 0.3 Miles AG
Nostrand Ave 10 Minute walk, 0.5 Miles 3
President St 12 Minute walk, 0.6 Miles 2 5
| Franklin Ave 13 Minute walk, 0.7 Miles 23 4 5
ROW Aer aT lee Tepes)
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1325 Paterson Plank Road, Secaucus, NJ 07094
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cobrien@nriadevelopment.com
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